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                 IN THE UNITED STATES DISTRICT COURT FOR
               THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                    *
UNITED STATES OF AMERICA
                                    *
           v.                               CRIMINAL NO.: WDQ-09-0288
                                    *
TERRENCE RICHARDSON
                                    *

*    *     *      *     *      *    *       *    *      *        *       *    *    *

                              MEMORANDUM OPINION

     On March 19, 2010, a jury convicted Terrance Richardson of

Conspiracy to Participate in a Racketeering Enterprise and

Conspiracy to Possess with Intent to Distribute Controlled

Substances.     For the following reasons, Richardson’s motion for

a new trial will be denied.

I.   Background

     During the five-day trial, the Government presented wiretap

evidence and numerous witnesses who described Richardson’s

leadership of the Pasadena Denver Lanes (“PDL”) set of the

Bloods gang.     The evidence showed that Richardson had, inter

alia, ordered several murders and was en route to commit a

murder when he was arrested.        The evidence also showed that

Richardson and other PDL members and associates had sold various

controlled substances.

     On March 17, 2010, a cooperating government witness

testified on cross-examination that, while in protective


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custody, she had received payments from the Bureau of Alcohol,

Tobacco, Firearms, and Explosives (“ATF”).            This information had

not been disclosed to defense counsel before trial.              The Court

ordered the Government to provide the information and to re-call

the witness so that she could be impeached with it.              The

Government provided a report showing that from September 2008 to

December 2009, the witness had received 42 payments from the ATF

for lodging, rent, and “subsistence.”          Mot. for New Trial, Ex.

A.    The payments totaled $18,720.20, of which $10,100.00 was for

subsistence.      On March 19, 2010--the final day of trial--the

witness was re-called and cross-examined about this information.

       The jury found Richardson guilty of Conspiracy to

Participate in a Racketeering Enterprise1 that involved:

conspiracy to commit first degree murder, attempted first degree

murder, attempted second degree murder, robbery, and

distribution of cocaine, heroin, and marijuana.             Richardson was

also found guilty of Conspiracy to Distribute and Possess with

Intent to Distribute Controlled Substances.2            On April 2, 2010,

Richardson moved for a new trial.          Paper No. 705.

II.    Analysis

       Richardson asserts that he is entitled to a new trial

because the Government violated Brady v. Maryland, 373 U.S. 83

1
    In violation of 18 U.S.C. § 1962(d).
2
    In violation of 21 U.S.C. § 846.
                                       2
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(1963), and its progeny by failing to disclose evidence about

the ATF’s payments to the cooperating witness before trial.

Under Fed. R. Crim. P. 33, “[u]pon the defendant’s motion, the

court may vacate any judgment and grant a new trial if the

interest of justice so requires.”        To obtain a new trial based

on a Brady violation, Richardson must prove that (1) a violation

occurred and (2) presentation of the suppressed evidence at a

new trial would create “a reasonable probability of a different

result,” which is shown when the government’s evidentiary

suppression “undermines confidence in the outcome of the trial.”

See United States v. Cohn, 166 Fed. Appx. 4, 11 (4th Cir. 2006).

     Under Brady, “suppression by the prosecution of evidence

favorable to an accused . . . violates due process where the

evidence is material either to guilt or to punishment,

irrespective of the good faith or bad faith of the prosecution.”

Brady, 373 U.S. at 87.       To prove a Brady violation, Richardson

must show that the evidence (1) is exculpatory or impeaching,

(2) was suppressed by the Government, and (3) was material to

his defense, i.e., he was prejudiced by the suppression.              See

United States v. Moussaoui, 591 F.3d 263, 285 (4th Cir. 2010).

     Richardson’s claim fails because he has not shown that the

Government “suppressed” the information about the ATF’s payments

to the witness.   Notwithstanding Richardson’s arguments, Brady

does not require disclosure before trial:         “No due process

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violation occurs as long as Brady material is disclosed to a

defendant in time for its effective use at trial.”           United

States v. Smith Grading & Paving, Inc., 760 F.2d 527, 532 (4th

Cir. 1985).   The Government provided the information to

Richardson on the fourth day of trial, and the witness was re-

called so that she could be impeached on the fifth day.

Counsel’s cross-examination, which lasted several hours,

thoroughly explored the ATF payments, and the jury was able to

assess the witness’s credibility in light of those payments.

The information was disclosed in time for its effective use at

trial.

     Although Richardson argues that disclosure before trial

would have enabled him to refer to the impeaching information in

his opening statement and to better cross-examine the

cooperating witness and other Government witnesses, he has not

shown that the late disclosure undermines confidence in the

outcome of the trial.    As noted above, the Government presented

wiretap evidence and the testimony of numerous witnesses--

including five cooperating witnesses--which established that

Richardson was the leader of PDL in Baltimore, had ordered

several murders, and had participated in the PDL’s drug

trafficking activities.      Further, defense counsel was able to

impeach the Government’s witness with the evidence of the ATF

payments.   That counsel was not able to refer to this evidence

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earlier in the trial does not undermine confidence in the

trial’s outcome.   Accordingly, Richardson’s motion for a new

trial will be denied.



June 3, 2010                            _________/s/________________
Date                                    William D. Quarles, Jr.
                                        United States District Judge




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